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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 JOHN O’HARA,

                                    Plaintiff,

                  -against-                                             Case No. 17 Civ. 4766 (LDH)(RML)

 The CITY OF NEW YORK, PATRICIA L. HYNES, as      [PROPOSED]
 Administrator of the estate of Charles J. Hynes, SCHEDULING ORDER
 ASSISTANT DISTRICT ATTORNEY JOHN P.
 O’MARA, ASSISTANT DISTRICT ATTORNEY DINO
 AMOROSO, DISTRICT ATTORNEY INVESTIGATOR
 ALLEN PRESSER, ASSEMBLYMAN JAMES F.
 BRENNAN, JOHN W. CARROLL, JOHN KEEFE, and
 JEFFREY WAITE,

                                     Defendants.
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         As discussed between the Court and counsel for all parties at the conference held at 10:00

 a.m. on Tuesday, March 25, 2025, depositions in this matter shall take place on the following

 schedule:

     •   The deposition of Plaintiff John O’Hara shall take place over two days, on April 24

         and 25, 2025. Each day of Plaintiff’s deposition, and all other depositions, shall consist

         of one day of seven hours of testimony. See Fed. R. Civ. P. 30(d)(1).

     •   The deposition of Defendant John O’Mara shall take place between May 5 and May 7,

         2025, inclusive.

     •   The deposition of Defendant James Brennan shall take place between May 21 and

         May 23, 2025, inclusive.

     •   Plaintiff shall issue subpoenas scheduling nonparty depositions of Assemblymember

         Robert Carroll and ADA John C. Carroll for dates between May 8 and 9 and May 19

         and 20, inclusive.
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    •   The deposition of Defendant Jeffrey Wait shall take place between June 4 and June 10,

        2025, inclusive.

    •   The deposition of Defendant John Keefe shall take place between June 12 and June

        18, 2025, inclusive.

    •   The deposition of Defendant John Carroll shall take place between June 23 and 27,

        2025, inclusive.

    •   The deposition of the Estate of Charles Hynes shall take place between July 17 and

        July 24, 2025, inclusive.

    •   The deposition of Defendant Dino Amoroso shall take place between July 23 and July

        31, 2025, inclusive.

        Plaintiff’s deposition shall take place in-person at the Offices of Hinman, Howard &

 Kattell, LLP, 1025 Westchester Avenue, White Plains, New York. The depositions of the

 Florida-based defendants (Keefe, O’Mara, and Patricia Hynes on behalf of the Estate of Charles

 Hynes) shall be conducted virtually. The deposition of Defendant Wait shall take place in-

 person at the Office of the Attorney General in Albany, New York. All other depositions of

 defendants shall be conducted in-person at the offices of the counsel for said defendants.

        This schedule may be modified only by agreement in writing among all parties or by

 further order of the Court.



 SO ORDERED.



 Dated: Brooklyn, New York                    _____________________________
        March ___, 2025                       The Honorable Robert M. Levy
                                              United States Magistrate Judge
